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IN THE UNITED STATES DISTRICT COURT va co
FOR THE WESTERN DISTRICT OF TENNESSE}§ mfg - \ Pl'-’l »_ 3 d
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA

v. No. 2:04-cr-20329-B

RICKEY ROBERTSON, JR.

 

ORDER GRANTING C()N'I`INUANCE

 

This cause came on to be heard by upon the Motion to Continue the sentencing hearing
scheduled for August 2, 2005 at 1:30 p.m.. It appearing to the Court, that Assistant United
States Attorney, Scott Leary, does not oppose this request and that said hearing be and is hereby
reset 30 days.

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED, by this Court that the

sentencing hearing currently set on August 2, 2005 at 1:30 p.m. be and is hereby continued thirty

(30)daystorhe "H¢\ day of Wcm{w/~ ,2005 at l‘. §0 a.m@

Time shall be excluded under the Speedy Trial Act. IBM

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UNITED sTATE mle COURT - WESTERN D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
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Honorable J. Breen
US DISTRICT COURT

